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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                             4:16CR3039

     vs.
                                                                ORDER
RAHMAN M. NABAVI, and ISABEL M.
MALLAR,

                     Defendants.


      Defendant Mallar has moved to continue the trial currently set for June 12,
2017. (Filing No. 72). As explained in the motion, the parties are currently
engaged in plea discussions. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant’s motion to continue, (Filing No. 72), is granted.

      2)       As to both defendants, the trial of this case is set to commence
               before the Honorable John M. Gerrard, United States District Judge,
               in Courtroom 1, United States Courthouse, Lincoln, Nebraska, at
               9:00 a.m. on July 31, 2017, or as soon thereafter as the case may
               be called, for a duration of three (3) trial days. Jury selection will be
               held at commencement of trial.

      3)       Based upon the showing set forth in Defendant’s motion and the
               representations of counsel, the Court further finds that the ends of
               justice will be served by continuing the trial; and that the purposes
               served by continuing the trial date in this case outweigh the interest
               of Defendant and the public in a speedy trial. Accordingly, as to
               both defendants, the additional time arising as a result of the
               granting of the motion, the time between today’s date and July 31,
               2017, shall be deemed excludable time in any computation of time
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          under the requirements of the Speedy Trial Act, because although
          counsel have been duly diligent, additional time is needed to
          adequately prepare this case for trial and failing to grant additional
          time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1),
          (h)(6) & (h)(7). Failing to object to this order as provided under the
          court’s local rules will be deemed a waiver of any right to later claim
          the time should not have been excluded under the Speedy Trial Act.

    4)    No further continuances will be granted absent a substantial
          showing of good cause.


          June 9, 2017.
                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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